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                      16
                      17                        UNITED STATES DISTRICT COURT
                      18                       CENTRAL DISTRICT OF CALIFORNIA
                      19                       WESTERN DIVISION (LOS ANGELES)
                      20
                      21     ANDREW MASON DVASH-                     )     Case No. 2:18-cv-00523-JFW-(JCx)
                             BANKS AND E.J. D.-B.,                   )
                      22                                             )     PLAINTIFFS’ NOTICE OF
                                                    Plaintiffs,      )     MOTION AND MOTION FOR
                      23                                             )     PARTIAL SUMMARY JUDGMENT
                                          v.                         )
                      24                                             )     Judge:        Hon. John F. Walter
                             THE UNITED STATES                       )     Hearing Date: February 4, 2019
                      25     DEPARTMENT OF STATE,                    )     Hearing Time: 1:30 P.M.
                             and THE HONORABLE                       )     Courtroom: 7A
                      26     MICHAEL R. POMPEO,                      )
                             Secretary of State,                     )
                      27                                             )
                                                    Defendants.      )
                      28                                             )

SULLIVAN & CROMWELL LLP
                                                      PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
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                    1               TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
                    2               PLEASE TAKE NOTICE that, on February 4, 2019 at 1:30 P.M., or
                    3 as soon thereafter as the matter may be heard, before the Honorable John F.
                    4 Walter, United States District Judge for the Central District of California, located
                    5 in Courtroom 7A, 350 W. 1st Street, Los Angeles, California 90012, Plaintiffs
                    6 Andrew Mason Dvash-Banks (“Andrew”) and, by and through his guardian ad
                    7 litem, E.J. D.-B. (“E.J.” and collectively, “Plaintiffs”) will, and hereby do, move
                    8 for summary judgment with respect to the Due Process Clause of the Fifth
                    9 Amendment claim on behalf of both Plaintiffs and, with respect to the 8 U.S.C.
                  10 § 1503 claim, on behalf of E.J. on the following grounds:
                  11                1.     Defendants’ policy of considering to be born “out of wedlock”
                  12 under 8 U.S.C. § 1409 of the Immigration and Nationality Act (“INA”) a child
                  13 born during the marriage of spouses who are not both the biological parents of that
                  14 child unconstitutionally infringes the right to marry by unfairly burdening and
                  15 stigmatizing same-sex marriage and depriving same-sex spouses and their children
                  16 of the full constellation of rights and benefits of marriage in violation of the Due
                  17 Process Clause of the Fifth Amendment. Plaintiffs have suffered injuries and will
                  18 suffer further irreparable harm to their constitutional rights under the Fifth
                  19 Amendment if the State Department’s policy is not declared unconstitutional and
                  20 enjoined.
                  21                2.     E.J. D.-B. meets all of the statutory criteria for U.S. citizenship
                  22 at birth under Section 301(g) of the INA (8 U.S.C. § 1401) and is therefore entitled
                  23 to be declared a U.S. citizen at birth under 8 U.S.C. §1503(a) and 28 U.S.C.
                  24 § 2201.
                  25                Plaintiffs further request that the Court award in conjunction with this
                  26 motion such other and further relief as the Court deems just and proper.
                  27                This motion is based on this Notice of Motion and Motion and the
                  28 following documents: the concurrently-filed Memorandum of Points and
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SULLIVAN & CROMWELL LLP
                                                 PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR PARTIAL SUMMARY JUDGMENT
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                    1 Authorities; the concurrently-lodged Statement of Uncontroverted Facts and
                    2 Conclusions of Law; the concurrently-filed Declaration of Alexa Lawson-Remer
                    3 and exhibits thereto; the concurrently-filed Declaration of Andrew Dvash-Banks
                    4 and exhibits thereto; and the concurrently-lodged Proposed Order, and all
                    5 pleadings on file in this matter, and any additional evidence or argument properly
                    6 considered by the Court or to be received by the Court at the hearing on this
                    7 matter.
                    8               This motion is made following the conferences of counsel pursuant to
                    9 L.R. 7-3, which took place on December 21, 2018 and January 2, 2019. See Joint
                  10 Statement Regarding Local Rule 7-3 Conference, Dkt. 77.
                  11
                  12 Dated:         January 7, 2019            Respectfully submitted,
                  13                                      By: /s/ Alexa M. Lawson-Remer
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